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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


FAIR FIGHT ACTION, INC, et al.,
     Plaintiffs,
     v.                                      Civil Action No.
                                             1:18-cv-05391-SCJ
BRAD RAFFENSPERGER, et al.,
  Defendants.




PLAINTIFFS’ STATEMENT OF UNDISPUTED MATERIAL FACTS IN
  SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT
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         Plaintiffs Fair Fight Action, Inc. and Baconton Missionary Baptist Church,

 Inc., (collectively, “Moving Plaintiffs”)1 submit the following Statement of

 Undisputed Material Facts in support of Moving Plaintiffs’ Motion for Partial

 Summary Judgment.

I.   In 2018, two federal courts issued injunctions against the date-of-birth
     requirement.

         1.    In Martin v. Crittenden, plaintiffs challenged the requirement that

 existed under Georgia law from 2007 to 2017 that a voter returning an absentee

 ballot write his or her date of birth on the absentee ballot envelope for the ballot to

 be counted. 347 F. Supp. 3d 1302, 1308–09 (N.D. Ga. 2018).

         2.    The Martin v. Crittenden plaintiffs asserted the date-of-birth

 requirement for absentee ballots violated 52 U.S.C. § 10101(a)(2)(B), which

 “forbids the practice of disqualifying voters ‘because of an error or omission on

 any record or paper relating to any application, registration, or other act requisite to

 voting.’” 347 F. Supp. 3d at 1308.

         3.    On November 13, 2018, Judge May found the plaintiffs had

 established a substantial likelihood of success on their claim. 347 F. Supp. 3d at

 1309.



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   Care in Action, Inc., Ebenezer Baptist Church of Atlanta, Georgia, Inc., Virginia
 Highland Church, Inc., and Sixth Episcopal District, Inc. are Plaintiffs in this
 litigation but do not bring this motion.

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      4.     In so ruling, Judge May recited Georgia’s qualifications for voting—

the same criteria that exist today—and concluded date of birth was immaterial to

demonstrating qualifications. See Martin, 347 F. Supp. 3d at 1308–09 (citing

Schwier v. Cox, 340 F.3d 1284, 1294 (11th Cir. 2003) and Fla. State Conf. of

NAACP v. Browning, 522 F.3d 1153, 1173 (11th Cir. 2008); O.C.G.A. § 21-2-216

(2019)).

      5.     Judge May further noted the “conclusion that year of birth information

is immaterial is only strengthened by the Georgia Supreme Court’s explicit

recognition that Georgia law ‘does not mandate the automatic rejection of any

absentee ballot lacking the elector’s place and/or date of birth.’” Martin, 347 F.

Supp. 3d at 1309 (citing Jones v. Jessup, 279 Ga. 531, 533 n.5 (2005)).

      6.     The Georgia Supreme Court held in Jones v. Jessup that the failure to

furnish “required information” on an absentee ballot “does not mandate the

automatic rejection of any absentee ballot lacking the elector’s place and/or date of

birth.” Jones v. Jessup, 279 Ga. 531, 533 n.5 (2005).

      7.     “The Georgia Supreme Court has not limited, overturned, or

otherwise abrogated its holding in Jones v. Jessup.” B. Tyson Letter to Hon. Steve

C. Jones (April 25, 2022), Ex. C (hereinafter “April 25 Letter”) at 3.2



2
 “Ex.” refers to the exhibits attached to Plaintiffs’ Motion for Partial Summary
Judgment.

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           8.    Judge May therefore enjoined Gwinnett County from rejecting

  absentee ballots because of omitted or incorrect dates of birth. 347 F. Supp. 3d at

  1311.

           9.    One day after Judge May’s decision, this Court agreed with the

  reasoning in Martin and issued a statewide injunction enjoining the Secretary of

  State from certifying election results without confirming that counties had accepted

  all absentee ballots with missing or incorrect dates of birth. See Democratic Party

  of Ga., 347 F. Supp. 3d at 1340–41, 1347.

II.   In 2019, Georgia’s law changed so as not to require dates of birth on
      absentee ballot envelopes.

           10.   In April 2019, the Georgia Legislature enacted HB 316, which

  implemented various reforms to Georgia’s election processes, including revising

  the absentee ballot oath envelope to no longer request date or year of birth. See

  O.C.G.A. § 21-2-384 (2019).

           11.   In discussing this change, Defendants recognized that removing the

  date-of-birth requirement “resulted in a significant decrease in the percentage of

  absentee ballots that were rejected at the outset” in the 2020 General Election as

  compared to the 2018 General Election, and that “[t]here were quite a number in

  2018 that were rejected for that missing information.” Oral Arg. Tr. at 51:12–15,

  Wood v. Raffensperger, No. 1:20-cv-4651 (N.D. Ga. Nov. 19, 2020) (“Wood Tr.”),

  Ex. B.


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III.   SB 202 re-imposed a date-of-birth requirement.

         12.    SB 202—passed and signed into law on March 25, 2021—reinstated

   the date-of-birth requirement for absentee ballot envelopes. See 2021 Ga. Laws,

   Act 9, §§ 27, 29, eff. July 1, 2021; April 25 Letter at 2 (“Local election officials

   must provide voters with envelopes containing space to place . . . date of birth”).

         13.    SB 202 also imposed a new date-of-birth requirement on absentee

   ballot applications. See 2021 Ga. Laws, Act 9, § 25; April 25 Letter at 2 (“SB 202 .

   . . created a mandatory statewide application form that included . . . date of birth”).

         14.    Under SB 202, if the “identifying” information (which includes date

   of birth) on an absentee ballot application does not match the voter’s information

   on record, the voter must be sent a provisional absentee ballot. See O.C.G.A. § 21-

   2-381(b)(3) (2021); April 25 Letter at 2 (where an absentee ballot application has

   “mismatched identifying information . . . registrars must send those individuals a

   provisional ballot”).

         15.    The provisional ballot will not be counted unless the voter provides an

   affidavit and identification, either in person or through providing a photocopy of

   the identification when returning the provisional ballot. See O.C.G.A. § 21-2-

   381(b)(3) (2021).

         16.    A voter who applies for an absentee ballot with his or her date of birth

   but then neglects to include the date of birth on the absentee ballot oath envelope



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will not have their vote counted. See O.C.G.A. § 21-2-381(b)(3) (2021); April 25

Letter at 2 (the registrar “rejects the [voted absentee] ballots if the ‘identifying

information entered’ on the envelope does not match”).

      17.      Voters whose absentee ballots are rejected will be mailed a “cure

affidavit form” in which the voter must affirm that they are registered and qualified

to vote in the election and submit one of a number of forms of acceptable ID

within three days of the election. See O.C.G.A. § 21-2-386(a)(1)(C) (2021); April

25 Letter at 2 (for voters with rejected absentee ballots, “the registrar is further

required to ‘promptly notify’ the elector and the elector is then permitted to cure

the issue”).

                                 CERTIFICATION

      I hereby certify that the foregoing has been prepared with a font size and

point selection (Times New Roman, 14 pt.), which is approved by the Court

pursuant to Local Rules 5.1(C) and 7.1(D).

      Respectfully submitted this, the 26th day of April, 2022.

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                         CERTIFICATE OF SERVICE

      I hereby certify that, on April 26, 2022, the foregoing PLAINTIFFS’

STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF

MOTION FOR PARTIAL SUMMARY JUDGMENT was filed with the Court

using the ECF system, which will serve all counsel of record.

      This, the 26th day of April, 2022.


                                     /s/ Allegra J. Lawrence
                                     Allegra J. Lawrence




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